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                  IN THE UNITED STATES DISTRICT COURTCHEYENNE
                      FOR THE DISTRICT OF WYOMING


 ROBERT L. HIGGINS as Wrongful
 Death Representative of the Estate of
 ROBERT NATHAN KENDALL
 HIGGINS and CORINA HIGGINS,

                Plaintiffs,                          Civil Action No. 12-CV-177-F

 v.

 FORD MOTOR COMPANY,

                Defendant.

                              ORDER DISMISSING PARTIES


       This matter is before the Court on the parties' Stipulation of Dismissal of Claims

Pending against TRW Automotive U.S., LLC, and TRW Vehicle Safety Systems, Inc. Upon

consideration of the parties' stipulation and being otherwise fully advised in the premises,

the Court finds good cause exists to approve the parties' stipulation and order the dismissal

of all claims against these Defendants.




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     WHEREFORE, IT IS ORDERED that all claims against TRW Automotive U.S., LLC

and TRW Vehicle Safety Systems, Inc. are hereby DISMISSED WITH PREJUDICE.

     IT IS FURTHER ORDERED that the case caption in this matter shall be and is hereby

AMENDED as reflected above.

     Dated this   __j__};_ day of May, 2013.




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